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                                                                                     FILE D
                                                                                      Clll   04 20
 1 11 Anton Ewing
                                                                                CLERK, U.S. DISTRICT OURT
      3077 B Clairemont Drive #372                                           SOUTHERN DISTRICT OF     IFORNIA
 2 II San Diego, CA 92117                                                   BY          s/ meganb      DEPUTY


 3

 4 II Plaintiff In   Pro Per
 5

 6

 7                   THE UNITED STATES FEDERAL DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9

10   II
          Anton Ewing,                                Civil Case No. '21 CV0009 CAB BGS
                      Plaintiff,                         1. NEGLIGENT VIOLATIONS OF
11
                                                            THE TELEPHONE
               vs.
12                                                          CONSUMER PROTECTION
                                                            ACT [47 U.S.C §227 (b)]
13   11
          Steady Capital, LLC, a New York                2. WILLFUL VIOLATIONS OF
14                                                          THE TELEPHONE
     II limited liability company,
                                                            CONSUMER PROTECTION
15                                                          ACT [47 U.S.C. §227(b)]
                      Defendant.
16
                                                         3. NEGLIGENT VIOLATIONS OF
                                                            THE TELEPHONE
17                                                          CONSUMER PROTECTION
                                                            ACT [47 U.S.C. §227 (c)]
18
                                                         4. WILLFUL VIOLATIONS OF
19                                                          THE TELEPHONE
                                                            CONSUMER PROTECTION
20
                                                            ACT [47 U.S.C. §227(c)]
21                                                       5. VIOLATION OF CALIFORNIA
                                                            INVASION OF PRIV ANCY
22                                                          ACT [PC §632.7]
23                                                    JURY TRIAL REQUESTED
24

25
               Plaintiff Anton Ewing ("Plaintiff'), an individual, alleges the following upo

                                     PLAINTIFF'S INITIAL COMPLAINT- l
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 1 11   Anton Ewing
        3077 B Clairemont Drive #372
 2   II San Diego, CA 92117

 3

 4 11     Plaintiff In Pro Per
 5

 6

 7                    THE UNITED STATES FEDERAL DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
 9

          Anton Ewing,                                 Civil Case No.
10   II

                       Plaintiff,                         1. NEGLIGENT VIOLATIONS OF
11
                                                             THE TELEPHONE
                vs.
12                                                           CONSUMER PROTECTION
                                                             ACT [47 U.S.C §227 (b)]
13   11
          Steady Capital, LLC, a New York                 2. WILLFUL VIOLATIONS OF
14                                                           THE TELEPHONE
     II limited liability company,
                                                             CONSUMER PROTECTION
15                                                           ACT [47 U.S.C. §227(b)]
                       Defendant.
16
                                                          3. NEGLIGENT VIOLATIONS OF
                                                             THE TELEPHONE
17                                                           CONSUMER PROTECTION
                                                             ACT [47 U.S.C. §227 (c)]
18
                                                          4. WILLFUL VIOLATIONS OF
19                                                           THE TELEPHONE
                                                             CONSUMER PROTECTION
20
                                                             ACT [47 U.S.C. §227(c)]
21                                                        5. VIOLATION OF CALIFORNIA
                                                             INVASION OF PRIVANCY
22                                                           ACT [PC §632.7]
23
                                                       JURY TRIAL REQUESTED
24                                                 )
          ---------
25
                Plaintiff Anton Ewing ("Plaintiff'), an individual, alleges the following upo

                                     PLAINTIFF'S INITIAL COMPLAINT- 1
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          information and belief based upon personal knowledge:

 2                                  I. NATURE OF THE CASE

 3 11     l.    Defendant Steady Capital, LLC sent a solicitation text message to Plaintiffs
 4   11
          DNC registered cell phone, without with an ATDS at 7:57AM on 12/28/2020 from
 5
          phone number 469-382-4130 to cell phone 619-719-9640 stating:
 6

 7
                   a. "Hey Anton Ewing, Merry Christmas it's Mr. Walls we are pushing

 8                     out high dollar amounts over 12-18 months under 15% we can fund
 9
                       before the new year! How much can SD DRONE VIDEOS LLC use
10
                       today."
11

12   II 2.      Jason Bay from Steady Capital, LLC called Plaintiff on August 12, 2019 to

13        sell Plaintiff a loan. The call came from 917-633-8713. Jason Bay sent a
14
          confirming email that same day stating "It was great speaking with you just now."
15
          3.    Plaintiff brings this action seeking damages and any other available legal or
16

11        equitable remedies resulting from the illegal actions of Steady Capital, LLC, a
18
          New York limited liability company ("Steady Capital, LLC"), in negligently,
19
          knowingly, and/or willfully contacting Plaintiff on Plaintiffs cellular telephone in
20

21
          violation of the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq.

22 11     ("TCPA") and related regulations, specifically the National Do-Not-Call
23   11
          provisions, thereby invading Plaintiffs privacy. Further, Defendants both violated
24
          California's Invasion of Privacy Act (CIPA) by illegally recording the
25


                                     PLAINTIFF' S INITIAL COMPLAINT- 2
      Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.4 Page 4 of 24




        telemarketing calls they made to Plaintiff without disclosing that such call was

 2      being recorded by Defendants, all in violation of PC §637.2 and PC §632.7. This
 3
        case involves more than one call in violation of the TCP A and CIPA.
 4
                                 II. JURISDICTION & VENUE
 5
        4.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
 6

 7 11   resident of California, seeks relief from the United States Federal District Court,

 8 11
        Southern District of California. For each TCPA subsection (b and c ), Plaintiff also
 9
        seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
10

        when all calls are added up, exceeds the threshold required for federal court
11

12   11jurisdiction. This is not a diversity case. This is a federal question case.
13
        5.    The Court has ancillary jurisdiction, in its discretion, over the attendant state
14
        law claims.
15

16   II 6.    This Court also has federal-question subject matter jurisdiction over the

11 11   Plaintiffs TCP A claims pursuant to 28 U.S. C. § 13 31 because the TCP A is a
18
        federal statute. Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).
19
        7.    This Court has personal jurisdiction over Defendant Steady Capital, LLC
20

21      because a substantial part of the wrongful acts alleged in this Complaint were

22      committed in California. For example, Steady Capital, LLC made illegal
23
        telemarketing robocalls to Mr. Ewing, with area code 619, while he was in
24
        California. Steady Capital, LLC has also subjected itself to personal jurisdiction
25


                                   PLAINTIFF' S fNITIAL COMPLAINT- 3
     Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.5 Page 5 of 24




      in California because they are running and abetting said criminal operation.

 2    8.      Venue is proper in the United States District Court for the Southern District
 3
      of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
 4
      business within the State of California and Plaintiff resides within the County of
 5

 6
      San Diego.

 7    9.      Defendant has purposefully directed its activities into California and has
 8
      thus enjoyed the benefits and protections of California law.
 9
                                          III. PARTIES
10
      10.     Plaintiff, Anton Ewing. ("Plaintiff'), is an individual and resident in
11

12   11 California.
13
      11.     Defendant Steady Capital, LLC is a vociferous robo-dialing telemarketer,
14
      and is a "person" as defined by 4 7 U.S.C. § 153 (39).
15

16
      12.     Soon to be named defendant Krupp is a "person" as defined by 47 U.S.C. §

17   11153 (39).
18
      13.     The above named Defendant Steady Capital, LLC, and its subsidiaries and
19
      agents, are collectively referred to as "Defendants." The true names and capacities
20

21    of the Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are

22    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
23
      names. Each of the Defendants designated herein as a DOE is legally responsible
24
      for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
25



                                   PLAINTIFF'S INITIAL COMPLAINT- 4
     Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.6 Page 6 of 24




        Complaint to reflect the true names and capacities of the DOE Defendants when

 2 11   such identities become known.
 3
        14.   Plaintiff is informed and believes that at all relevant times, each and every
 4
        Defendant was acting as an agent and/or employee of each of the other Defendants
 5

 6
        and was acting within the course and scope of said agency and/or employment wit

 7      the full knowledge and consent of each of the other Defendants. Plaintiff is
 8
        informed and believes that each of the acts and/or omissions complained of herein
 9
        was made known to, and ratified by, each of the other Defendants. Defendants
10

11      controlled every aspect of its agent's operations including the scripts to be read on

12      each call and the fact that Defendant required its agent to record each
13
        telemarketing call. Steady Capital, LLC is and was, at all times relevant to this
14
        action, a knowingly and intentionally authorized and controlled agent of Hershel
15

16      Krupp.

17
                                VI. FACTUAL ALLEGATIONS
18
        15.   In addition to the 12/28/2020 text messages, on or about January 9, 2020,
19

20
        Defendant contacted Plaintiff on Plaintiffs cellular telephone number ending in -

21      9640, in an attempt to solicit Plaintiff to purchase Defendant's merchant cash
22
        advance services. Defendant's employee, Scott Wilson, acted like he has spoken
23
        to Plaintiff previously. Defendant used a prerecorded voice message and an ATDS
24

25      to initiate the call. The robot required Plaintiff to push "1" to get to a live human.


                                   PLAINTIFF'S INITIAL COMPLAINT- 5
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        This violates California Civil Code § 1770(a)(22)(A). There was also a very

 2      distinct bubble popping sound at the beginning of the call that indicates an ATDS
 3
        was used to initiate and dial Plaintiffs cell telephone number that is itself
 4
        registered on www.donotcall.gov since 2012.
 5

 6
        16.        Defendant Steady Capital, LLC, is an LLC formed in New York in 2015.

 7      17.        Defendant Steady Capital, LLC used a "Vicidial" ATDS system to robodial
 8
        Plaintiff on Plaintiffs cell phone to sell Plaintiff merchant cash advance services.
 9
        Krupp purchased, setup and activated the Vicidial system.
IO

11      18.        Defendant is being sued for violating 47 USC §227(b)(l)(A), 47 USC

12   II §227(c)(5), California Civil Code 1 §1770(a)(22)(A) and PC §§632.7 and 637.2.
13
        19.        Defendant Steady Capital, LLC is located at 2357 Coney Island, NY 11223
14
        and 215-08 23 rd Road, 2 nd Floor, Bayside, New York 11360.
15

16      20.        Defendant owns and uses www.steadycapitalsolutions.com which can be

17 11   viewed in California.
18
        21.        Hershel Krupp is an officer of Defendant Steady Capital, LLC
19

        22.        Krupp is an owner of Defendant Steady Capital, LLC
20

21

22
        1
            Disseminating an unsolicited prerecorded message by telephone without an unrecorded, natural voice first
23
        informing the person answering the telephone of the name of the caller or the organization being represented, and
24
        either the address or the telephone number of the caller, and without obtaining the consent of that person to listen to
25
        the prerecorded message.

                                               PLAINTIFF ' S INITIAL COMPLAINT- 6
     Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.8 Page 8 of 24




        23.   Steady Capital, LLC employee Scott Wilson called Plaintiff from 917-789-

 2      1330 and spoke to Anton Ewing through this hired employee agent. Anton Ewing
 3
        owns, answers and controls cell phone number ending in -9640. The employee,
 4
        Scott Wilson, confessed, at the very end of the call, that the call was being
 5

 6
        recorded and that he did not disclose the fact of recording at any time prior to that.

 7      24.   Steady Capital, LLC does not have a California CFL license.
 8
        25.   Defendant has failed to obtain a bond as required of all telemarketing
 9
        organizations in California.
10

11      26.   Steady Capital, LLC has been sued for TCP A violations in the past.

12      27.   Steady Capital, LLC is illegally doing business in California.
13
        28.   Steady Capital, LLC has failed to register as a telemarketer in California
14
        with the California Department of Justice.
15

16      29.   Defendant has failed to obtain a telemarketers bond in California as required

17 11
        by the California Department of Justice.
18
        30.   Steady Capital, LLC exerts agency type control over their third party lead
19

        source for telemarketing leads.
20

21      31.   Scott Wilson stated on the telemarketing call that Krupp told him to call
22
        Plaintiff's phone and then he sent multiple emails to Plaintiff with an application
23
        for a merchant case advance. Scott Wilson called Plaintiff twice in January 2020.
24

25
        32.   Steady Capital, LLC requires its lead source to ask certain questions of the


                                   PLAINTIFF ' S INITIAL COMPLAINT- 7
     Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.9 Page 9 of 24




          prospective clients before the lead source can transfer the call to Steady Capital,

 2   11   LLC employees.
 3
          33.    Upon information and belief, Steady Capital, LLC began harassing Plaintiff
 4
          on or about January 30, 2019 at which time Plaintiff expressly told Defendant to
 5

 6 11
          stop calling and to send a written copy of its Do Not Call policy. Then

 7 11     Defendants called again and again. Defendant has not sent a written copy of the do
 8
     II   not ca11 po1•icy.
 9
          34.    There were many calls prior to these because Krupp's employee already
10

11        knew Plaintiff's name and email address.

12        35.    Calling Plaintiff's cell phone in California prior to 8:00 AM is a violation of
13
          the FTC and FCC regulations and therefore a violation of 47 USC §227(c)(5).
14
          36.    Plaintiff believes and thereupon alleges that Steady Capital, LLC has been
15

16 11     the ultimate cause of Plaintiff's phone ringing off the hook for the past year with
17 11
          telemarketing calls for bogus loans.
18
          3 7.    Plaintiff did not consent to, nor give permission for, the subsequent call
19
     II
20
          made by Defendant Steady Capital, LLC to Plaintiff.

21        38.    Often telemarketers higher controlled third parties to do their initial illegal
22
          calling in violation of the TCPA. The initial lead source always plays coy and will
23
          not divulge who they are or who they are working for. That in and of itself is a
24

25
          violation of the FCC's Telemarketing Sales Rule and actionable under 47 USC


                                      PLAINTIFF'S INITIAL COMPLAINT- 8
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          §227(c)(5). The only way that Plaintiff can find out who the TCPA violator is, is

 2   11 to fain interest and "play along" on the call as the telemarketer reads the script and
 3   11
          illegally records the responses so they can sell the lead to Defendant Steady
 4
          Capital, LLC
 5

 6
          39.   Further, consent must be in writing and signed by the person called.

 7   11 Plaintiff did not sign any consent to be called.
 8
          40.   The Honorable District Judge Chad F. Kenney stated on May 1, 2019 in case
 9
          number 18-cv-02071, Shelton vs. Fast Advance Funding, LLC: "Well, the only
10

11   11 way this, this act is going to get any teeth in it at all is through a serial litigant."
12   1141.      Judge Kenney was referring to the TCPA when he made this above
13
          statement on the record.
14
          42.   In addition to the other calls listed herein, Krupp directly called Plaintiff on
15

16   11 his DNC registered cell phone in violation of the TCPA.

17 11
          43.   The TCPA causes of action (47 USC §227(b) and (c)) filed herein for, inter
18
          alia, illegal telemarketing to Plaintiffs DNC registered cellular phone through the
19   II
20
          use of an ATDS is expressly alleged against Defendant Steady Capital, LLC

21        44.   Steady Capital, LLC has been illegally calling Mr. Ewing, without his
22   11
          consent, with autodialed and prerecorded calls ("robocalls") as well as "live-
23
          transfer" calls using an ATDS. Mr. Ewing brings this action under the Telephone
24

25        Consumer Protection Act, 47 U.S.C. § 227 ("TCPA"), in hopes that an injunction


                                     PLAINTIFF' S INITIAL COMPLAINT- 9
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       and damages will encourage Steady Capital, LLC and Krupp, to change their ways.

 2     Plaintiff is suing Steady Capital, LLC for the directly dialed calls as well as the
 3
       third party lead source calls and for the text messages. There were other calls
 4
       through lead generators and this lawsuit is for the direct autodialed called to
 5

 6
       Plaintiff cell phone as well as the calls from the third party lead source.

 7     45.   Krupp is the agent of Steady Capital, LLC and Krupp controls the acts and
 8
       actions of Steady Capital, LLC as his alter ego.
 9
       46.   Defendant used an "automatic telephone dialing system" as defined by 4 7
10

11   11 U.S.C. § 227(a)(l) to place its call to Plaintiff seeking to solicit its services.
12   1147.   Defendant contacted or attempted to contact Plaintiff from telephone
13
       numbers confirmed to be Defendant's number. After the robot initiated the call, it
14
       was transferred to "Scott Wilson" who asked personal questions and illegally
15

16     recorded the call.

17
       48.   Defendant's calls constituted calls that were not for emergency purposes as
18
       defined by 47 U.S.C. § 227(b)(l)(A).
19

       49.   During all relevant times, Defendant did not possess Plaintiffs "prior
20

21     express consent" to receive calls using an automatic telephone dialing system or an
22
       automatic telephone dialing system or an artificial or prerecorded voice on its
23
       cellular telephone pursuant to 47 U.S.C.§227(b)(l)(A). At no time did Plaintiff
24

25     provide, give or grant express written permission to be called nor to be robo-dialed


                                   PLAINTIFF ' S INITIAL COMPLAINT- 10
     Case 3:21-cv-00009-CAB-BGS Document 1 Filed 01/04/21 PageID.12 Page 12 of 24




        by Defendants or its agents.

 2      50.   Further, Plaintiffs cellular telephone number ending in -9640 was added to
 3
        the National Do-Not-Call Registry on or about February 16, 2012.
 4
        51.   Defendant placed multiple calls soliciting its business to Plaintiff on his
 5

 6
        cellular telephone ending in -9640 in or around January 2020.

 7      52.   Such calls constitute solicitation calls pursuant to 47 C.F.R. § 64.1200(c)(2)
 8
        as they were attempts to promote or sell Defendant's services.
 9
        53.   Plaintiff received numerous solicitation calls from Defendant within a 12-
10

11      month period.

12 11   54.   Defendant continued to call Plaintiff on its telephone number -9640 in an
13
        attempt to solicit its services and in violation of the National Do-Not-Call
14
        provisions of the TCPA.
15

16      55.   Upon information and belief, and based on Plaintiffs experiences of being
17
        called by Defendant after being on the National Do-Not-Call list for several years
18
        prior to Defendant's initial call, and at all relevant times, Defendant failed to
19

20
        establish and implement reasonable practices and procedures to effectively prevent

21      telephone solicitations in violation of the regulations prescribed under 47 U.S.C.
22
        §227(c)(5).
23
        56.   Plaintiff was harmed by the acts of Defendant in at least the following ways:
24

25      Defendant illegally contacted Plaintiff via his telephone for solicitation purposes,


                                   PLAINTIFF' S INITIAL COMPLAINT- 11
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           thereby invading the privacy of said Plaintiff whose telephone number was on the

 2 II National        Do-Not-Call Registry. Plaintiff was damaged thereby.
 3
           57.      Plaintiff is suing as a person that received numerous solicitation calls from
 4
           Defendant within a 12-month period, who had not granted Defendant prior express
 5

 6
           consent and did not have an established business relationship with Defendants.

 7         58.      Defendant illegally recorded each telemarketing call that it made to Plaintiff
 8
           in violation of California Penal Codes §632. 7 and §63 7 .2. Defendants owe
 9
           Plaintiff $5,000 for each and every illegally recorded call.
10

11         59.      The TCPA provides a private cause of action to persons who receive calls in

12 II      violation of§ 227(b). 47 U.S.C. § 227(b)(3).
13
           60.      The TCP A makes it unlawful to make telemarketing solicitations to
14
           telephone numbers on the National Do Not Call Registry. 47 U.S.C. § 227(c); 47
15    II




16    11   C.F.R. § 64.1200(c)(2).

17 11
           61.      The TCP A provides a private cause of action to persons who receive calls in
18
           violation of§ 227(c). 47 U.S.C. § 227(c)(5).
19

20
           62.      The term ATDS 2 as used and mentioned herein is as defined by the TCPA

21

22

23
           2
               "we conclude that the statutory definition of ATDS includes a device that stores
24
           telephone numbers to be called, whether or not those numbers have been generated
25
           by a random or sequential number generator."
                                        PLAINTIFF ' S INITIAL COMPLAINT- 12
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          and by the 9th Circuit Court of Appeals in the recent Marks vs. Crunch San Diego,

 2   11   LLC case. D.C. No 14-cv-00348 BAS BLM.
 3
                                             V. STANDING
 4
          63.    The court must evaluate lack of statutory standing under the Rule 12(b)( 6)
 5

 6 11
          standard. Maya v. Centex Corp., 658 F.3d 1060, 1067 (9th Cir. 2011). However,

 7 11     because Plaintiff is proceeding pro se, his complaint "must be held to less stringent
 8
          standards than formal pleadings drafted by lawyers" and must be "liberally
 9
          construed." Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam) (reaffirming
10

11 11     standard for pro se complaints post-Twombly). The Ninth Circuit has concluded

12 11     that the court's treatment of pro se filings after Twombly and Iqbal remain the same
13
          and pro se pleadings must continue to be liberally construed. Hebbe v. Pliler, 627
14
          F.3d 338, 342 (9th Cir. 2010); see also McGowan v. Hulick, 612 F.3d 636, 640-42
15 "

16   II (7th Cir. 2010); Bustos v. Martini Club Inc., 599 F.3d 458, 461-62 (5th Cir. 2010);

17 11
          Harris v. Mills, 572 F.3d 66, 71-72 (2d Cir. 2009) (noting that even following
18
          Twombly and Iqbal, "we remain obligated to construe a pro se complaint
19

          liberally").
20

21        64.    Standing is proper under Article III of the Constitution of the United States
22
          of America because Plaintiffs claims state:
23
          65.    A valid injury in fact;
24

25
          66.    which is traceable to the conduct of Defendants;


                                      PLArNTIFF'S rNITIAL COMPLAINT- 13
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       67.   and is likely to be redressed by a favorable judicial decision. See, Spokeo,

 2     Inc. v. Robins, 578 U.S. __(2016) at 6, and Lujan v. Defenders of Wildlife, 504
 3
       U.S. 555 at 560. In order to meet the standard laid out in Spokeo and Lujan,
 4
       Plaintiffs must clearly allege facts demonstrating all three prongs above.
 5

 6
             The "Injury in Fact" Prong

 7   1168.   Plaintiffs injury in fact, must be both "concrete" and "particularized" in
 8
       order to satisfy the requirements of Article III of the Constitution, as laid out in
 9
       Spokeo (Id.). For an injury to be "concrete," it must be a de facto injury, meaning
10

11     that it actually exists. In the present case, Plaintiff was called on his cellular phone

12     at least twenty times by both Defendants. In fact, Plaintiff expressly informed both
13
       Defendants to cease and desist from all future telemarketing on the very first call.
14
       Such calls are a nuisance, an invasion of privacy, and an expense to Plaintiff in
15

16     multiple ways. Soppet v. Enhanced Recovery Co. , LLC, 679 F.3d 637,638 (7th Cir.

17
       2012). Defendant's invasion of Plaintiffs right to privacy is further exacerbated
18
       by the fact that Plaintiffs phone number, at all times relevant to this litigation, was
19

20
       on the National Do-Not-Call Registry ( hereinafter, "DNC Registry"). As well,

21     Plaintiff had no prior business relationship with Defendant prior to receiving the
22
       seriously harassing and annoying calls by Steady Capital, LLC. All of Plaintiffs
23
       injuries are concrete and de facto. For an injury to be "particularized" means that
24

25     the injury must "affect the plaintiff in a personal and individual way." Spokeo, Inc.


                                  PLAINTIFF' S INITIAL COMPLAINT- 14
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           v. Robins, 135 S.Ct. 1540, 578 US._ (2016) at 14. In the instant case, it was

 2         Plaintiffs phone that was called and it was Plaintiff who answered the calls. It
 3
           was Plaintiffs personal privacy and peace that was invaded by both Defendant's
 4
           persistent phone calls using an ATDS and a pre-recoded message, despite Plaintiff
 5

 6
           having no prior business relationship with either Defendant and Plaintiffs attempt

 7         to avoid the damage by registering his number on the DNC Registry.
 8
                 The "Traceable to the Conduct of Defendant" Prong
 9
           69.   The second prong required to establish standing at the pleadings phase is
10

11         that Plaintiff must allege facts to show that their injury is traceable to the conduct

12         of Defendant. In the instant case, this prong is met by the fact that the calls to
13
           Plaintiffs cellular phone and home phone (land line) were placed either by
14
           Defendant directly, or by Defendant's agent at the express direction and control of
15

16         Defendant. See Jones v. Royal Admin. Servs., 866 F.3d 1100 (9th Cir. 2017) ten

17
           factor test from the 9 th Circuit and Civil code §2307.
18
                 The "Injury is Likely to be Redressed by a Favorable Judicial Opinion"
19

20
           Prong

21    11   70.   The third prong to establish standing at the pleadings phase requires Plaintifl
22
           to allege facts to show that the injury is likely to be redressed by a favorable
23
           judicial opinion. In the present case, Plaintiffs Prayers for Relief includes a
24

25         request for damages for each call made by both Defendants, as authorized by


                                      PLAINTIFF'S INITIAL COMPLAINT- 15
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          statute in 47 U.S.C. § 227. The statutory damages were set by Congress and

 2        specifically redress the financial damages suffered by Plaintiff. Furthermore,
 3
          Plaintiffs Prayers for Relief request injunctive relief to restrain Defendant from
 4
          the alleged abusive practices in the future. The award of monetary damages and the
 5

 6
          order for injunctive relief redress the injuries of the past and prevent further injury

 7        in the future. Because all standing requirements of Article III of the U.S.
 8
          Constitution have been met, as laid out in Spokeo, Inc. v. Robins, 578 U.S._
 9
          (2016), Plaintiff has standing to sue both Defendants on the stated claims.
10

11        71.   "To establish injury in fact, a plaintiff must show that he or she suffered 'an

12        invasion of a legally protected interest' that is 'concrete and particularized' and
13
          'actual or imminent, not conjectural or hypothetical."' Spokeo. at 1548 (quoting
14
          Lujan, 504 U.S. at 560). The Supreme Court noted that concreteness is quite
15   II




16        distinct from particularization. Id. An injury is "particularized" if it affects "the
17
          plaintiff in a personal and individual way." Id. In addition, for an injury to be
18
          "concrete", it must be "de facto," meaning that it is "real" and not "abstract." Id.
19

20
          However, an injury need not be "tangible" in order to be "concrete," and intangible

21        injuries may constitute injury in fact. Id. at 1549. In order to determine whether an
22
          intangible harm constitutes injury in fact, Spokeo provided two factors to be
23
          considered: "history and the judgment of Congress." Id. at 1549. Specifically, "(l)
24

25        whether the statutory violation bears a 'close relationship to a harm that has


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       traditionally been regarded as providing a basis for a lawsuit in English or

 2     American courts,' and (2) congressional judgment in establishing the statutory
 3
       right, including whether the statutory right is substantive or procedural." Matera v.
 4
       Google, No. 15cv 4062-LHK, 2016 WL 5339806, at *9 (N.D. Cal. Sept. 23, 2016).
 5

 6
       Spokeo also held that "the violation of a procedural right granted by statute can be

 7     sufficient in some circumstances to constitute injury in fact." Spokeo, 136 S. Ct. at
 8
       1549. In such a case, a plaintiff "need not allege any additional harm beyond the
 9
       one [the legislature] has identified." Id.
10

11     72.   Here, Plaintiff alleges that Defendant Steady Capital, LLC contacted him

12     using a "telephone dialing system." This is insufficient standing alone, but as in
13
       Charkchyan and Kramer, Plaintiff alleges sufficient additional facts. First, one of
14
       the calls is available to the Court as audio recordings of the robotic voice message
15

16     that initiated the calls. Second, the calls are solicitation advertisements: they

17
       advertise Defendant Steady Capital, LLC's services for which Plaintiff has
18
       absolutely not use or interest. Third, Plaintiff declares that he has never heard of
19

20
       Defendant Steady Capital, LLC, visited any location operated by said Defendant

21     prior to the harassing and annoying calls, nor provided his cellular telephone
22
       number to Defendant Steady Capital, LLC or consented to receive calls from
23
       Defendant. Plaintiff also has had no prior business relationship with Defendants.
24

25     Plaintiff had no reason to be in contact with Defendant Steady Capital, LLC nor


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        has he ever purchased any kind of product or service that they are selling.

 2      Plaintiffs allegations are sufficient to establish that Defendants used ATDS in
 3
        sending their prerecorded solicitation messages illegally and in direct violation of
 4
        the TCPA.
 5

 6
        73.   In Plaintiffs case, the allegations establish that he did not give prior express

 7 11   consent. He declared that he was "the regular user and subscriber to the cellular
 8
        telephone number at issue." He also declared that he has "never heard of
 9
        [Defendant], visited any location operated by [Defendant], provided [his] cellular
10

11      telephone number to [Defendant] or consented to receive text messages from

12      [Defendant]." As in Charkchyan, these allegations are sufficient to support
13
        Plaintiffs claims that he did not give prior express consent authorizing Defendant
14
        to send the prerecorded messages, nor to use an ATDS.
15

16                                FIRST CAUSE OF ACTION
17             Negligent Violations of the Telephone Consumer Protection Act
18
                                         47 U.S.C. §227(b).
19
        74.   Plaintiff repeats and incorporates by reference into this cause of action the
20
        allegations set forth above at Paragraphs 1-72.
21


22      75.   The foregoing acts and omissions of both Defendants constitute numerous

23
        and multiple negligent violations of the TCP A, including but not limited to each
24
        and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particula
25


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          47 U.S.C. § 227 (b)(l)(A).

 2        76.    As a result of both Defendant's negligent violations of 47 U.S.C. § 227(b),
 3
          Plaintiff is entitled to an award of $500.00 in statutory damages, for each and every
 4
          violation, pursuant to 47 U.S.C. § 227 (b)(3)(B).
 5

 6 11
          77.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc

 7 11     in the future.
 8
                                    SECOND CAUSE OF ACTION
 9
          Knowing and/or Willful Violations of the Telephone Consumer Protection Act
IO
                                            47 U.S.C. §227(b)
11

12 11
          78.    Plaintiff repeats and incorporates by reference into this cause of action the

13 11     allegations set forth above at Paragraphs 1- 72.
14   11
          79.    The foregoing acts and omissions of both Defendants, jointly and severally,
15
          constitute numerous and multiple knowing and/or willful violations of the TCPA,
16

17        including but not limited to each and every one of the above cited provisions of 4 7

1s II U.S.C. § 227(b), and in particular 47 U.S.C. § 227 (b)(l)(A).
19
          80.    As a result of both Defendant's knowing and/or willful violations of 47
20
          U.S.C. §227(b), Plaintiff is entitled to an award of $1,500.00 in statutory damages,
21

2 2 11    for each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §

23 11     227(b) )(3)(C).
24
          81.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
25



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           in the future.

 2                                    THIRD CAUSE OF ACTION
 3                 Negligent Violations of the Telephone Consumer Protection Act
 4
           82.    Plaintiff repeats and incorporates by reference into this cause of action the
 5
           allegations set forth above at Paragraphs 1-72.
 6

 7
           83.    The foregoing acts and omissions of both Defendants, jointly and severally,

 8         constitute numerous and multiple negligent violations of the TCP A, including but
 9
           not limited to each and every one of the above cited provisions of 47 U.S.C. §
10
           227(c), and in particular 47 U.S.C. § 227 (c)(5).
11

12         84.    As a result of both Defendant's negligent violations of 47 U.S.C. § 227(c),

13    11   Plaintiff is entitled an award of $5 00. 00 in statutory damages, for each and every
14
           violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
15
           85.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
16

17         in the future.

18
                                    FOURTH CAUSE OF ACTION
19
           Knowing and/or Willful Violations of the Telephone Consumer Protection Act
                                                                                                     I
20
                                           47 U.S.C. §227 et seq.
21
           86.    Plaintiff repeats and incorporates by reference into this cause of action the
22

23 11      allegations set forth above at Paragraphs 1-72.

24         87.    The foregoing acts and omissions of both Defendants constitute numerous
25
           and multiple knowing and/or willful violations of the TCPA, including but not
                                      PLAINTIFF'S INITIAL COMPLAINT- 20
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           limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),

 2    11   in particular 47 U.S.C. § 227 (c)(5).
 3
           88.    As a result of both Defendant's knowing and/or willful violations of 47
 4
           U.S.C. § 227(c), Plaintiff is entitled to an award of $1,500.00 in statutory damages,
 5

 6
           for each and every violation, pursuant to 47 U.S.C. §227(c)(5).

 7         89.    Plaintiff is also entitled to and seek injunctive relief prohibiting such conduc
 8
           in the future.
 9
                                      FIFTH CAUSE OF ACTION
10

11
                                    California Invasion of Privacy Act

12                                       PC §632.7 and PC §6372

13         90.    Plaintiff repeats and incorporates by reference into this cause of action the
14
           allegations set forth above at Paragraphs 1-72.
15
           91.    The foregoing acts and omission of both Defendants constitute numerous
16

17    11
           and multiple knowing and/or willful violations of CPA, including but not limited t

18         each and every one of the above cited provisions of California Penal Code §632,
19
           §632.7 and §637.2
20
           92.    As a result of both Defendant's knowing and willful violation of CIPA
21

22         sections PC §632 et seq, including PC §632.7, Defendants both owe Plaintiff

23         $5,000 per call.
24
           93.    Plaintiff is also entitled to injunctive relief as expressly provided for within
25



                                       PLArNTIFF' S INITIAL COMPLArNT- 21
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       CIP A to prohibit both Defendants from illegally recording calls to Plaintiff ever

 21,agam.
 3
                                    PRAYER FOR RELIEF
 4
           WHEREFORE, Plaintiff requests judgment against both Defendants for the
 5
                                            following:
 6
                                 FIRST CAUSE OF ACTION
 7
               Negligent Violations of the Telephone Consumer Protection Act
 8

 9
                                        47 U.S.C. §227(b)

10        • As a result of both Defendant's negligent violations of 47 U.S.C.
11           §227(b)(1 ), Plaintiff is entitled to and request $500 in statutory damages, for

12           each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).

13        • Any and all other relief that the Court deems just and proper.

14                              SECOND CAUSE OF ACTION
15
       Knowing and/or Willful Violations of the Telephone Consumer Protection Act
16
                                        47 U.S.C. §227(b)
17
          • As a result of both Defendant's willful and/or knowing violations of 47
18
             U.S.C. §227(b)(1 ), Plaintiff is entitled to and request treble damages, as
19
             provided by statute, up to$1,500, for each and every violation, pursuant to
20
             47 U.S.C.
21
             §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
22
          • Any and all other relief that the Court deems just and proper.
23
                                 THIRD CAUSE OF ACTION
24
         Negligent Violations of the Telephone Consumer Protection Act 47 U.S.C.
25
                                             §227(c)
                                 PLAINTIFF'S INITlAL COMPLAINT- 22
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          • As a result of both Defendant's negligent violations of 47 U.S.C.

 2
              §227( c)(5), Plaintiff is entitled to and request $500 in statutory damages, for
              each and every violation, pursuant to 47 U.S.C. 227(c)(5).
 3
          • Any and all other relief that the Court deems just and proper.
 4

 5                              FOURTH CAUSE OF ACTION

 6 11   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
 7                                            47 U.S.C. §227(c)
 8
          • As a result of both Defendant's willful and/or knowing violations of 47
 9
              U.S.C. §227( c)(5), Plaintiff is entitled to and request treble damages, as
10
              provided by statute, up to $1,500, for each and every violation, pursuant to
11            47 U.S.C. §227(c)(5).
12        • Any and all other relief that the Court deems just and proper.
13                                    FIFTH CAUSE OF ACTION
14                                 California Invasion of Privacy Act
15                                        PC §632.7 and PC §6372
16        • $5,000 per call for each such call that was recorded without consent or
17            disclose of such recording at the beginning of the call.

18 11     •   Any and all other relief that the Court deems just and proper.

19   II Respectfully Submitted this 28   th
                                              day of December, 2020.
20

21

22

23

24

25


                                  PLAINTIFF 'S INITIAL COMPLAINT- 23
